Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 1 of 27 Page ID #:526



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  13                            UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
  14
           THOMAS FEW,                                CASE NO: 2:18-cv-09531-JLS-DFM
  15
  16                    Plaintiff,                    MEMORANDUM OF POINTS AND
                  v.                                  AUTHORITIES IN SUPPORT OF
  17
                                                      UTLA’S MOTION FOR SUMMARY
  18       UNITED TEACHERS LOS ANGELES,               JUDGMENT
           et al.,
  19
                                                      Hearing Date: Dec. 13, 2019
  20                           Defendants.            Hearing Time: 10:30 a.m.*
                                                      Location:     Courtroom 10A
  21
  22                                                  Hon. Josephine L. Staton
  23
  24
  25
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  27
       *
  28       The parties will submit a request to waive oral argument on their motions for
           summary judgment.

                  UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 2 of 27 Page ID #:527



   1                                              TABLE OF CONTENTS
   2   TABLE OF AUTHORITIES .................................................................................... ii
   3   INTRODUCTION ..................................................................................................... 1
   4   BACKGROUND ....................................................................................................... 3
   5       I.       Facts............................................................................................................ 3
   6       II.      Plaintiff’s Lawsuit ...................................................................................... 6
   7   LEGAL STANDARD ............................................................................................... 6
   8   ARGUMENT ............................................................................................................. 7
   9       I.       Plaintiff’s Claim for Prospective Relief Is Not Justiciable ........................ 7
  10       II.      The Union Is Entitled to Summary Judgment on Plaintiff’s Claim for
                    Damages ................................................................................................... 10
  11
  12                A.        Deductions Made Pursuant to Plaintiff’s Express, Voluntary
                              Dues Deduction Authorization Did Not Violate His First
  13                          Amendment Rights ........................................................................ 11
  14
                              1.         Plaintiff voluntarily authorized dues deductions as part
  15                                     of a contract with UTLA .................................................... 11
  16                          2.         Plaintiff’s pre-Janus consent to membership dues
  17                                     deductions was “freely given” .......................................... 13
  18                B.         Plaintiff’s Challenge to the Terms of His Dues Authorization
                               Also Fails for Lack of State Action .............................................. 16
  19
  20                C.         Plaintiff’s Damages Claim for Post-June 4, 2018 Deductions
                               Does Not Present a Justiciable Controversy................................. 18
  21
       CONCLUSION........................................................................................................ 20
  22
  23
  24
  25
  26
  27
  28

                                                   i
                   UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 3 of 27 Page ID #:528




   1                                         TABLE OF AUTHORITIES
   2   Abood v. Detroit Bd. of Educ.,
         431 U.S. 209 (1977) .......................................................................................... 4, 14
   3
   4   Am. Rivers v. Nat’l Marine Fisheries Serv.,
         126 F.3d 1118 (9th Cir. 1997) ................................................................................. 7
   5
       Anderson v. Serv. Emps. Int’l Union Local 503,
   6
         _F.Supp.3d_, 2019 WL 4246688 (D. Or. Sept. 4, 2019) ................................ 16, 18
   7
       Babb v. Cal. Teachers Ass’n,
   8     378 F.Supp.3d 857 (C.D. Cal. 2019) .............................................................. passim
   9
       Bain v. Cal. Teachers Ass’n,
  10      156 F.Supp.3d 1142 (C.D. Cal. 2015) ................................................................... 17
  11   Bain v. Cal. Teachers Ass’n,
  12      2016 WL 6804921 (C.D. Cal. May 2, 2016) ......................................................... 17
  13   Bain v. Cal. Teachers Ass’n,
          891 F.3d 1206 (9th Cir. 2018) ................................................................. 7, 8, 12, 17
  14
  15   Belgau v. Inslee,
          2018 WL 4931602 (W.D. Wash. Oct. 11, 2018)............................................. 12, 13
  16
  17   Belgau v. Inslee,
          359 F.Supp.3d 1000 (W.D. Wash. 2019) ...................................................... 2, 3, 17
  18
       Bermudez v. SEIU Local 521,
  19      2019 WL 1615414 (N.D. Cal. Apr. 16, 2019)................................................... 2, 12
  20
       Blum v. Yaretsky,
  21      457 U.S. 991 (1982) .............................................................................................. 17
  22   Brady v. United States,
  23      397 U.S. 742 (1970) ........................................................................................ 15, 16
  24   Buckley v. Valeo,
  25     424 U.S. 1 (1976) .................................................................................................. 11

  26   Carey v. Piphus,
         435 U.S. 247 (1978) .............................................................................................. 19
  27
  28   Celotex Corp. v. Catrett,
          477 U.S. 317 (1986) ................................................................................................ 7
                                                   ii
                   UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 4 of 27 Page ID #:529




   1   Chicago Teachers Union, Local No. 1 v. Hudson,
         475 U.S. 292 (1986) ................................................................................................ 4
   2
   3   City of Erie v. Pap’s A.M.,
          529 U.S. 277 (2000) .............................................................................................. 19
   4
       Clark v. City of Seattle,
   5
          2017 WL 3641908 (W.D. Wash. Aug. 24, 2017) ................................................. 12
   6
       Cohen v. Cowles Media Co.,
   7     501 U.S. 663 (1991) .............................................................................................. 12
   8
       Colony Cove Properties, LLC v. City of Carson,
   9     640 F.3d 948 (9th Cir. 2011) ................................................................................. 14
  10   Coltec Indus., Inc. v. Hobgood,
  11     280 F.3d 262 (3d Cir. 2002) .................................................................................. 14
  12   Cooley v. Cal. Statewide Law Enforcement Ass’n,
         2019 WL 331170 (E.D. Cal. Jan. 25, 2019) ................................................ 2, 12, 13
  13
  14   Cooley v. Cal. Statewide Law Enforcement Ass’n,
         385 F.Supp.3d 1077 (E.D. Cal. July 9, 2019) ............................................. 2, 16, 17
  15
  16   Crockett v. NEA-Alaska,
         367 F.Supp.3d 996 (D. Alaska 2019) .................................................... 2, 11, 12, 14
  17
       Dingle v. Stevenson,
  18      840 F.3d 171 (4th Cir. 2016) ........................................................................... 15, 16
  19
       Farrell v. Int’l Ass’n of Firefighters,
  20     781 F.Supp. 647 (N.D. Cal. 1992) ......................................................................... 11
  21   Fisk v. Inslee,
  22      2017 WL 4619223 (W.D. Wash. Oct. 16, 2017)................................................... 12
  23   Fisk v. Inslee,
  24      759 F.App’x 632 (9th Cir. 2019) ..................................................................... 12, 19

  25   Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,
          528 U.S. 167 (2000) ................................................................................................ 8
  26
  27   In re Di Giorgio,
           134 F.3d 971 (9th Cir. 1998) ................................................................................... 8
  28

                                                  iii
                   UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 5 of 27 Page ID #:530




   1   Janus v. AFSCME, Council 31,
          138 S.Ct. 2448 (2018)..................................................................................... passim
   2
   3   Johnson v. Rancho Santiago Cmty. Coll. Dist.,
          623 F.3d 1011 (9th Cir. 2010) ............................................................................... 10
   4
       Kidwell v. Transp. Commc’ns Int’l Union,
   5
          946 F.2d 283 (4th Cir. 1991) ................................................................................. 11
   6
       Lamberty v. Conn. State Police Union,
   7     2018 WL 5115559 (D. Conn. Oct. 19, 2018) ........................................................ 20
   8
       Lewis v. Cont’l Bank Corp.,
   9     494 U.S. 472 (1990) ................................................................................................ 8
  10   Lugar v. Edmonson Oil Co.,
  11     457 U.S. 922 (1982) .............................................................................................. 16
  12   Masters v. Screen Actors Guild,
         2004 WL 3203950 (C.D. Cal. Dec. 8, 2004)......................................................... 11
  13
  14   Mayer v. Wallingford-Swarthmore Sch. Dist.,
         _F.Supp.3d_, 2019 WL 4674397 (E.D. Pa. Sept. 24, 2019) ......................... 2, 9, 20
  15
  16   Memphis Cmty. Sch. Dist. v. Stachura,
         477 U.S. 299 (1986) .............................................................................................. 19
  17
       Minn. State Bd. for Cmty. Colleges v. Knight,
  18     465 U.S. 271 (1984) .............................................................................................. 12
  19
       Molina v. Pa. Soc. Serv. Union,
  20     392 F.Supp.3d 469 (M.D. Pa. 2019)...................................................................... 20
  21   N.L.R.B. v. U.S. Postal Serv.,
  22      827 F.2d 548 (9th Cir. 1987) ................................................................................. 12
  23   O’Callaghan v. Regents of Univ. of Cal.,
  24     2019 WL 2635585 (C.D. Cal. June 10, 2019) ............................................. 2, 13, 18

  25   Ohno v. Yasuma,
         723 F.3d 984 (9th Cir. 2013) ................................................................................. 16
  26
  27   Puckett v. United States,
         556 U.S. 129 (2009) .............................................................................................. 14
  28

                                                  iv
                   UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 6 of 27 Page ID #:531




   1   Roberts v. AT&T Mobility LLC,
         877 F.3d 833 (9th Cir. 2017) ................................................................................. 17
   2
   3   Roper v. Simmons,
         543 U.S. 551 (2005) .............................................................................................. 15
   4
       Rosebrock v. Mathis,
   5
         745 F.3d 963 (9th Cir. 2014) ............................................................................. 7, 10
   6
       S-1 v. Spangler,
   7      832 F.2d 294 (4th Cir. 1987) ................................................................................. 19
   8
       Sands v. NLRB,
   9      825 F.3d 778 (D.C. Cir. 2016)............................................................................... 20
  10   Seager v. United Teachers Los Angeles,
  11      2019 WL 3822001 (C.D. Cal. Aug. 14, 2019) ............................................... passim
  12   Smith v. Bieker,
         2019 WL 2476679 (N.D. Cal. June 13, 2019) ...................................... 2, 13, 16, 19
  13
  14   Smith v. Superior Court,
         2018 WL 6072806 (N.D. Cal. Nov. 16, 2018) ...................................... 2, 12, 13, 19
  15
  16   Weyandt v. Pa. State Corrs. Officers Ass’ns,
         2019 WL 5191103 (M.D. Pa. Oct. 15, 2019) ........................................................ 19
  17
       Federal Statutes
  18
  19   42 U.S.C. §1983 ................................................................................................... passim

  20   California Statutes
  21   California Education Code §45060 ..................................................................... passim
  22   California Education Code §45168 ................................................................ 6, 7, 8, 17
  23
       California Government Code §3540.1.......................................................................... 8
  24
       California Government Code §3543.1.................................................................. 6, 7, 8
  25
  26   California Government Code §3543.5........................................................................ 17

  27   Rules
  28   Fed. R. Civ. P. 56 .......................................................................................................... 6

                                                    v
                    UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 7 of 27 Page ID #:532




   1                                     INTRODUCTION
   2         Plaintiff Thomas Few is a former member of United Teachers Los Angeles
   3   (“UTLA”). He voluntarily signed an agreement authorizing deduction of union
   4   dues from his pay for a one-year period in exchange for the rights and benefits of
   5   membership. In a June 4, 2018 letter, Plaintiff resigned his union membership.
   6   UTLA has processed his resignation and stopped dues deductions. Although
   7   Plaintiff agreed to pay dues for a one-year period, UTLA has nonetheless refunded
   8   to Plaintiff all dues deducted after his June 4, 2018 resignation, plus interest.
   9         This Court already has dismissed one of two Counts in Plaintiff’s First
  10   Amended Complaint. Babb v. Cal. Teachers Ass’n, 378 F.Supp.3d 857, 888 (C.D.
  11   Cal. 2019). In his sole remaining claim (Count I), Plaintiff contends that UTLA and
  12   Los Angeles Unified School District (“LAUSD”) Superintendent Austin Beutner
  13   violated his First Amendment rights by deducting union dues from his pay and by
  14   enforcing the revocation period included in Plaintiff’s dues deduction authorization
  15   agreement. Because Plaintiff’s 42 U.S.C. §1983 claim fails on the undisputed facts,
  16   this Court should grant summary judgment to UTLA.
  17         First, Plaintiff’s claim for prospective relief no longer presents a live
  18   controversy, because Plaintiff is not a member of UTLA, his dues deductions have
  19   stopped, and there is no plausible risk that they will resume. Plaintiff’s challenge to
  20   the future enforcement of certain California statutes regarding union membership
  21   dues deductions is also moot. See Seager v. United Teachers Los Angeles, 2019
  22   WL 3822001, at *2 (C.D. Cal. Aug. 14, 2019); Babb, 378 F.Supp.3d at 886.
  23         Second, Plaintiff’s claim for retrospective damages based on deductions
  24   occurring prior to his June 4, 2018 resignation is meritless. Payments made
  25   pursuant to voluntary contracts between two private parties do not violate the First
  26   Amendment. Plaintiff voluntarily chose to become a member of UTLA and to sign
  27   an express written agreement to pay dues through payroll deductions, in exchange
  28   for membership rights and benefits. This Court has already recognized that Janus v.

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                UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 8 of 27 Page ID #:533




   1   AFSCME, Council 31, 138 S.Ct. 2448 (2018), has no bearing on such voluntary
   2   agreements to pay union dues. Babb, 378 F.Supp.3d at 877 (“Plaintiffs voluntarily
   3   chose to pay membership dues in exchange for certain benefits, and ‘[t]he fact that
   4   plaintiffs would not have opted to pay union membership fees if Janus had been the
   5   law at the time of their decision does not mean their decision was therefore
   6   coerced.’”) (quoting Crockett v. NEA-Alaska, 367 F.Supp.3d 996, 1008 (D. Alaska
   7   2019)); Seager, 2019 WL 3822001, at *2 (same). Every other court to consider the
   8   issue is in agreement.1
   9           Finally, Plaintiff cannot recover damages for any dues deductions that
  10   occurred after he resigned his union membership. His claim for post-resignation
  11   damages is moot because UTLA already refunded to Plaintiff, with interest, all dues
  12   deducted from his wages after UTLA received his resignation letter. See Joint
  13   Statement of Undisputed Facts, Dkt. 71 (“JSUF”) ¶¶9-10 & Ex. H. There is thus no
  14   relief left for him to seek as to that time period. See, e.g., Mayer v. Wallingford-
  15   Swarthmore Sch. Dist., _F.Supp.3d_, 2019 WL 4674397, at *3 (E.D. Pa. Sept. 24,
  16   2019). In any event, even if Plaintiff’s claim regarding post-resignation deductions
  17   were not moot, it would still fail because Plaintiff voluntarily entered a contract
  18   with UTLA to pay dues through payroll deductions for a specified period
  19
  20   1
           See Belgau v. Inslee, 359 F.Supp.3d 1000, 1016 (W.D. Wash. 2019) (“Belgau II”)
  21       (“Janus does not apply here – Janus was not a union member, unlike the Plaintiffs
           here, and Janus did not agree to a dues deduction, unlike the Plaintiffs here.”);
  22
           O’Callaghan v. Regents of Univ. of Cal., 2019 WL 2635585, at *3 (C.D. Cal. June
  23       10, 2019) (“[N]othing in Janus’s holding requires unions to cease deductions for
           individuals who have affirmatively chosen to become union members ….”);
  24
           Bermudez v. SEIU Local 521, 2019 WL 1615414, at *2 (N.D. Cal. Apr. 16, 2019);
  25       Cooley v. Cal. Statewide Law Enforcement Ass’n, 2019 WL 331170, at *3 (E.D.
           Cal. Jan. 25, 2019) (“Cooley I”), order after further proceedings, 385 F.Supp.3d
  26
           1077, 1080-81 (E.D. Cal. July 9, 2019) (“Cooley II”); Smith v. Superior Court,
  27       2018 WL 6072806, at *1 (N.D. Cal. Nov. 16, 2018) (“Smith I”), order after further
  28       proceedings, Smith v. Bieker, 2019 WL 2476679, at *2 (N.D. Cal. June 13, 2019)
           (“Smith II”).
                                                    2
                  UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 9 of 27 Page ID #:534




   1   “irrespective of [his] membership in UTLA.” JSUF Ex. B. As this Court has
   2   already held, Plaintiff cannot recover damages under 42 U.S.C. §1983 for payments
   3   to which he voluntarily agreed. Seager, 2019 WL 3822001, at *2; see also Belgau
   4   II, 359 F.Supp.3d at 1016-17.
   5                                      BACKGROUND
   6   I.       Facts
   7            Plaintiff Thomas Few is an educator employed by LAUSD. JSUF ¶1. UTLA
   8   is the collective bargaining representative for more than 30,000 LAUSD educators.
   9   Decl. of Harry Mar ISO UTLA’s Mot. for Summ. J. (“Mar Decl.”) ¶2. UTLA is
  10   supported by dues paid by educators who voluntarily become members by signing a
  11   membership card that authorizes the deduction of union dues from their pay. Id.
  12   LAUSD employees are not required to become members of UTLA as a condition of
  13   employment. Id.
  14            On September 8, 2016, Plaintiff voluntarily elected to become a member of
  15   UTLA and signed an express, written agreement affirmatively authorizing the
  16   deduction of union dues from his wages. JSUF ¶2 & Ex. A; see Mar Decl. 2, 5.2
  17   He signed a new membership and dues authorization agreement on February 13,
  18   2018. JSUF ¶3 & Ex. B. The 2018 agreement provides: “I hereby request and
  19   voluntarily accept membership in UTLA and I agree to abide by its Constitution and
  20   Bylaws.” Id. Ex. B. Plaintiff also separately signed and dated the following
  21   authorization:
  22            I hereby (1) agree to pay regular monthly dues uniformly applicable
                to members of UTLA; and (2) request and voluntarily authorize my
  23
                employer to deduct from my earnings and to pay over to UTLA such
  24
  25   2
           Plaintiff’s September 8, 2016 payroll deduction authorization, which he signed and
           dated separately from his membership authorization, provided: “I hereby authorize
  26
           my employer to deduct from my earnings and remit to UTLA all applicable Union
  27       dues, fees and/or assessments that may now or hereafter be established by UTLA.
  28       To alter the authorization you have made, you must notify UTLA in writing.”
           JSUF ¶2 & Ex. A.
                                                    3
                  UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 10 of 27 Page ID
                                   #:535



 1         dues. This agreement to pay dues shall remain in effect and shall be
           irrevocable unless I revoke it by sending written notice via U.S. mail
 2
           to UTLA during the period not less than thirty (30) days and not more
 3         than sixty (60) days before the annual anniversary date of this
           agreement or as otherwise required by law. This agreement shall be
 4
           automatically renewed from year to year unless I revoke it in writing
 5         during the window period, irrespective of my membership in UTLA.
 6   Id. (emphasis added).
 7         In return for joining UTLA and agreeing to pay his membership dues via
 8   payroll deduction, Plaintiff enjoyed access to membership rights and members-only
 9   benefits. Mar Decl. ¶3. UTLA members have the right to vote in union officer
10   elections, run for union office, and participate in the union’s internal affairs. Id. In
11   addition, UTLA members may access certain benefits not available to non-
12   members, including a Group Legal Services network of attorneys, training and
13   scholarships, student debt clinics, mortgage and home services programs, insurance
14   benefits, and discounts on a variety of items. Id.
15         On or about June 4, 2018, UTLA received a letter from Plaintiff stating that
16   Plaintiff wanted to resign his union membership and cease paying full membership
17   dues. See JSUF ¶4 & Ex. C. The letter stated that he “object[ed] to the use of [his]
18   agency fee for nonchargeable activities, in accordance with [his] rights as protected
19   by” Abood v. Detroit Board of Education, 431 U.S. 209 (1977), and Chicago
20   Teachers Union, Local No. 1 v. Hudson, 475 U.S. 292 (1986), but would be
21   “continuing to pay for the ‘representation’ portion of [his] dues.” JSUF Ex. C.
22         On June 27, 2018, the Supreme Court issued its opinion in Janus, 138 S.Ct.
23   2448, holding for the first time that the First Amendment prohibits non-member
24   public employees from being required to provide any financial support to the union
25   that serves as their representative in collective bargaining.
26         On July 13, 2018, UTLA sent a letter to Plaintiff acknowledging receipt of
27   his letter and reminding him of the terms of the dues deduction authorization he had
28   signed, which allowed dues deductions to be terminated during a 30-day window
                                                 4
              UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 11 of 27 Page ID
                                   #:536



 1   based on the date he signed. JSUF ¶5 & Ex. D. The letter explained that Plaintiff
 2   could be a Dues Paying Non-Member until the window period, and explained how
 3   and when he could terminate his dues payment obligation in accordance with his
 4   dues authorization agreement. JSUF Ex. D. On August 3, 2018, UTLA received
 5   another letter from Plaintiff, requesting that UTLA “immediately cease deducting
 6   all dues, fees, and political contributions from my wages” in light of the Janus
 7   decision. JSUF ¶6 & Ex. E. UTLA received an additional letter from Plaintiff
 8   demanding an end to his dues deductions on or about October 10, 2018. JSUF ¶7 &
 9   Ex. F. UTLA sent Plaintiff a letter on October 19, 2018, again reminding him of
10   the terms of his dues authorization and that he could revoke his authorization during
11   his window period. JSUF ¶8 & Ex. G.
12            On November 21, 2018, UTLA Executive Director Jeff Good sent Plaintiff a
13   letter confirming that UTLA considered Plaintiff to have resigned his membership
14   as of June 4, 2018. JSUF ¶9 & Ex. H at 1; Mar Decl. ¶10. Mr. Good’s letter
15   reminded Plaintiff of his separate dues payment obligation but stated that UTLA
16   nonetheless “ha[d] requested the District to stop deducting union dues from your
17   future paychecks.” JSUF Ex. H at 1. The letter further explained that –
18   notwithstanding Plaintiff’s one-year dues commitment – UTLA was refunding
19   Plaintiff all money deducted after June 4, 2018, with interest, and enclosed a check
20   for $433.31. Id.; Mar Decl. ¶¶9-11.3 On or about December 5, 2018, Plaintiff’s
21   counsel confirmed that Plaintiff had received Mr. Good’s letter and deposited the
22   check. JSUF ¶12 & Ex. I. No further deductions of dues from Plaintiff’s wages
23   have occurred. JSUF ¶11.
24
25
     3
         Plaintiff alleged that he sent a resignation letter to UTLA “[o]n or about June 2,
26
         2018.” First Amended Complaint, Dkt. 38 (“FAC”) ¶18. No dues were deducted
27       between June 2 and June 4, 2018, so Plaintiff already received a full refund of all
28       dues paid post-resignation whether his resignation was effective June 2 or June 4.
         Mar Decl. ¶11.
                                                   5
                UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 12 of 27 Page ID
                                   #:537



 1   II.   Plaintiff’s Lawsuit
 2         Plaintiff filed this lawsuit on November 9, 2018, Dkt. 1, and a First Amended
 3   Complaint on December 28, 2018. On May 8, 2019, this Court granted UTLA’s
 4   motion to dismiss Count II of Plaintiff’s First Amended Complaint, which alleged
 5   that California’s system of exclusive representative collective bargaining for public
 6   educational employees violates the First Amendment. Babb, 378 F.Supp.3d at 888.
 7         In the sole remaining Count, Few asserts that UTLA and Superintendent
 8   Beutner (together, “Defendants”) are violating his First Amendment rights “[b]y
 9   refusing to allow [him] to withdraw from the union and continuing to deduct his
10   dues.” FAC at 6. Plaintiff asserts that Defendants have “limited withdrawal from
11   the union to an arbitrary 30-day period per year and insist that Mr. Few can only
12   exercise his First Amendment rights at that time.” Id. ¶39; see id. ¶46. Plaintiff
13   further contends that his “consent to dues collection was not ‘freely given’ because
14   it was given based on an unconstitutional choice between union membership or the
15   payment of union agency fees without the benefit of membership.” Id. ¶42; see also
16   id. ¶41.
17         Plaintiff seeks an injunction ending his union membership and dues
18   deductions; a declaration that California Government Code §3543.1 and California
19   Education Code §45060 and §45168 are unconstitutional; and “damages in the
20   amount of all dues deducted and remitted to UTLA since the commencement of his
21   employment in August 2016.” FAC ¶¶47-52; see also id. Prayer for Relief ¶¶a-h.
22   In the alternative, he requests damages for all union dues deducted since the date of
23   his resignation letter, or since the Supreme Court’s decision in Janus on June 27,
24   2018. Id.¶¶51-52; id. Prayer for Relief ¶¶g-h.
25                                    LEGAL STANDARD
26         Summary judgment is proper where “there is no genuine dispute as to any
27   material fact and the movant is entitled to judgment as a matter of law.” Fed. R.
28   Civ. P. 56(a). Rule 56 “mandates the entry of summary judgment … against a party

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                UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 13 of 27 Page ID
                                   #:538



 1   who fails to make a showing sufficient to establish the existence of an element
 2   essential to that party’s case, and on which that party will bear the burden of proof
 3   at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).
 4                                        ARGUMENT
 5   I.    Plaintiff’s Claim for Prospective Relief Is Not Justiciable.
 6         Plaintiff seeks prospective relief ending his union membership and dues
 7   deductions and declaring that application of California Government Code §3543.1
 8   and California Education Code §45060 and §45168 to him going forward is
 9   unconstitutional. FAC ¶¶47-52; id. Prayer for Relief ¶¶a-h. But Plaintiff is no
10   longer a UTLA member, all dues deductions have ended, and there is no plausible
11   likelihood that dues deductions will recur. Mar Decl. ¶10-11; JSUF Ex. H.
12   Plaintiff’s claim for prospective relief is therefore no longer justiciable, as this Court
13   has already recognized when considering indistinguishable circumstances. See
14   Seager, 2019 WL 3822001, at *2; Babb, 378 F.Supp.3d at 886.
15         A plaintiff’s claim becomes moot “when the issues presented are no longer
16   ‘live’ or the parties lack a legally cognizable interest in the outcome.” Rosebrock v.
17   Mathis, 745 F.3d 963, 971 (9th Cir. 2014) (citation omitted). “If an event occurs that
18   prevents the court from granting effective relief, the claim is moot and must be
19   dismissed.” Am. Rivers v. Nat’l Marine Fisheries Serv., 126 F.3d 1118, 1123 (9th
20   Cir. 1997).
21         No effective prospective relief remains available in this case. Plaintiff
22   successfully resigned his UTLA membership, and his dues deductions ended months
23   ago. Accordingly, he “can no longer benefit” from an injunction ordering UTLA to
24   cancel his membership and stop dues deductions, and his claim for such relief is
25   moot. Bain v. Cal. Teachers Ass’n, 891 F.3d 1206, 1209 (9th Cir. 2018).
26         The same rule applies to Plaintiff’s request for declaratory relief with respect
27   to California Government Code §3543.1 and California Education Code §45060 and
28   §45168. FAC ¶¶45-47. California Education Code §45060 address dues deductions

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              UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 14 of 27 Page ID
                                   #:539



 1   for certificated employees, providing, inter alia, that the governing board of a public
 2   school employer “shall honor the terms of the employee’s written authorization for
 3   payroll deductions,” id. §45060(e), and that a “revocable written authorization shall
 4   remain in effect until expressly revoked in writing by the employee, pursuant to the
 5   terms of the written authorization,” id. §45060(c). Section 45168 includes similar
 6   provisions for “classified employees.” Id. §45168(a)(2) (“The revocable written
 7   authorization shall remain in effect until expressly revoked in writing by the
 8   employee in accordance with the terms of the authorization.”); id. §45168(a)(6)
 9   (“The governing board shall honor the terms of the employee’s written authorization
10   for payroll deductions.”).4 California Government Code §3543.1 describes the rights
11   of employee organizations, and subsection (d) provides that, once “an employee
12   organization is recognized as the exclusive representative,” dues deductions pursuant
13   to Education Code §45060 and §45168 “shall not be permissible except to the
14   exclusive representative.”
15            Where the undisputed evidence shows there is no reasonable likelihood that a
16   plaintiff will ever again be subject to the statute he challenges, his claim for
17   declaratory relief with respect to that statute is not justiciable. See Lewis v. Cont’l
18   Bank Corp., 494 U.S. 472, 479 (1990) (party must establish a “specific live
19   grievance against the application of the statutes” to pursue claims for declaratory and
20   injunctive relief) (internal quotation marks and citation omitted); In re Di Giorgio,
21   134 F.3d 971, 975 (9th Cir. 1998) (claim for prospective relief was moot where
22   plaintiff was no longer subject to the challenged statute); see also Bain, 891 F.3d at
23
     4
         To the extent Plaintiff seeks to challenge Education Code §45168(b), which
24
         addresses deductions for “service fees” pursuant to an organizational security
25       arrangement, Plaintiff does not have standing to do so. See Friends of the Earth,
         Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 185 (2000) (“[A] plaintiff
26
         must demonstrate standing separately for each form of relief sought.”). Few never
27       paid “service fees”; he paid union dues deducted pursuant to his express written
28       authorization. See Cal. Gov’t Code §3540.1(i)(2) (explaining service fees); FAC
         ¶¶4, 16-18.
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                UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 15 of 27 Page ID
                                   #:540



 1   1214. Plaintiff’s claim for declaratory relief with respect to the California statutes
 2   he challenges is nonjusticiable because, following his resignation from UTLA and
 3   the termination of his membership dues deductions, he is no longer subject to those
 4   statutes. “[N]umerous courts,” including this Court in other cases involving UTLA,
 5   have correctly ruled that similar claims for injunctive and declaratory relief “are
 6   moot once the dues collection has ended.” Mayer, 2019 WL 4674397, at *3; see id.
 7   n.27 (citing cases); Seager, 2019 WL 3822001, at *2 (where UTLA had processed
 8   the plaintiff’s revocation of her authorization for membership dues “Plaintiff’s
 9   claims for prospective relief from further dues deductions and her request for relief
10   from further enforcement of § 45060(a) are moot”); Babb, 378 F.Supp.3d at 886
11   (plaintiff “would have to rejoin his union for his claim to be live, which, given his
12   representations in this lawsuit, seems a remote possibility”). The Court should reach
13   the same conclusion here.5
14            The voluntary-cessation doctrine does not save Plaintiff’s claims for
15   prospective relief because there is no reasonable possibility the conduct Plaintiff
16   challenges could recur. For Plaintiff to pay further dues through payroll deduction,
17   he would have to choose to rejoin UTLA and authorize dues again, see Mar Decl.
18   ¶11, and Plaintiff has made clear he does not wish to do so. Moreover, the
19   circumstances that Plaintiff (incorrectly) contends made his prior consent to dues
20   deductions not “freely given” – the existence of fair-share fees for nonmembers – no
21
22   5
         Even if Plaintiff’s claim for declaratory relief were not moot, it would be meritless.
23       Plaintiff asserts that these statutes are unconstitutional because they permitted
         UTLA and employees to enter into voluntary dues deduction authorization
24
         contracts with a 30-day revocation window. FAC ¶45. As this Court held in ruling
25       on a similar statutory challenge, “Janus does not hold that employees have the right
         to resign from a union however they want,” Babb, 378 F.Supp.3d at 886
26
         (addressing challenge to §45060’s requirement that union resignation be in writing
27       and directed to the union rather than the employer), nor does it hold that employees
28       may renege on their voluntary contractual commitments to pay money to the union
         at any time or in any manner. See infra Part II.A.
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                UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 16 of 27 Page ID
                                   #:541



 1   longer exist after the decision in Janus. See JSUF ¶14. It is thus “absolutely clear
 2   that the allegedly wrongful behavior” – deduction of dues based on consent given
 3   when nonmembers paid fair-share fees – “c[an] not reasonably be expected to recur.”
 4   Rosebrock, 745 F.3d at 971.
 5         Nor would the capable-of-repetition-yet-evading-review doctrine apply
 6   regarding Plaintiff’s claims for prospective relief. That doctrine requires a showing
 7   that Plaintiff himself would be “subject to the complained-of conduct in the future,”
 8   which is implausible for the reasons just explained. Johnson v. Rancho Santiago
 9   Cmty. Coll. Dist., 623 F.3d 1011, 1021 (9th Cir. 2010). Further, the First
10   Amendment issues will not evade review because Plaintiff is also seeking
11   retrospective relief.
12   II.   The Union Is Entitled to Summary Judgment on Plaintiff’s Claim for
           Damages.
13
14         Plaintiff seeks compensatory damages to recover all dues he paid during his
15   employment, on the theory that his First Amendment rights were violated when those
16   dues were deducted from his pay. FAC ¶50; id. Prayer for Relief ¶f. In the
17   alternative, Plaintiff seeks as damages all dues deducted since he submitted his
18   resignation letter, or all dues deducted since the Supreme Court’s decision in Janus
19   on June 27, 2018. FAC ¶¶51-52; id. Prayer for Relief ¶¶g-h. Plaintiff’s damages
20   claim is meritless because the undisputed facts establish that he voluntarily
21   authorized the challenged deductions. This Court has already considered and
22   rejected indistinguishable claims, noting the “growing consensus” of authority that
23   Janus had no effect on union members’ voluntary consent to dues deductions,
24   including consents that were provided before Janus. Seager, 2019 WL 3822001, at
25   *2 (“Plaintiff’s First Amendment claim for return of dues paid pursuant to her
26   voluntary union membership agreement fails as a matter of law.”); Babb, 378
27   F.Supp.3d at 877 (“Plaintiffs voluntarily chose to pay membership dues in exchange
28   for certain benefits, and ‘[t]he fact that plaintiffs would not have opted to pay union

                                                 10
              UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 17 of 27 Page ID
                                   #:542



 1   membership fees if Janus had been the law at the time of their decision does not
 2   mean their decision was therefore coerced.’”) (quoting Crockett, 367 F.Supp.3d at
 3   1008). Plaintiff’s claim for damages based on post-June 4, 2018 deductions, all of
 4   which UTLA refunded to Plaintiff, fails both for this reason and for the independent
 5   reason that the claim is moot.
 6            A.      Deductions Made Pursuant to Plaintiff’s Express, Voluntary Dues
                      Deduction Authorization Did Not Violate His First Amendment
 7
                      Rights.
 8
                       1.     Plaintiff voluntarily authorized dues deductions as part of a
 9
                              contract with UTLA.
10
              The First Amendment prohibits the government from compelling an individual
11
     to subsidize another private party’s expressive activities. See, e.g., Janus, 138 S.Ct.
12
     at 2464 (explaining that “compelled subsidization of private speech seriously
13
     impinges on First Amendment rights”) (emphasis added). But Plaintiff’s choice to
14
     join UTLA and authorize union dues deductions was not compelled by the
15
     government; it was voluntary, expressive activity that is protected, not proscribed, by
16
     the First Amendment. See, e.g., Buckley v. Valeo, 424 U.S. 1, 16 (1976). “Where
17
     the employee has a choice of union membership and the employee chooses to join,
18
     the union membership money is not coerced. The employee is a union member
19
     voluntarily.” Kidwell v. Transp. Commc’ns Int’l Union, 946 F.2d 283, 292-93 (4th
20
     Cir. 1991); cf. Masters v. Screen Actors Guild, 2004 WL 3203950, at *5 n.6 (C.D.
21
     Cal. Dec. 8, 2004) (citing Kidwell to find that “a union is entitled to require, as a
22
     condition of membership, that members pay a fee that covers the costs of both the
23
     union’s non-representational and representational activities[]”); Farrell v. Int’l Ass’n
24
     of Firefighters, 781 F.Supp. 647, 649 (N.D. Cal. 1992) (following Kidwell and
25
     rejecting First Amendment claims brought by public sector union members).6 Thus,
26
27
     6
28       The Supreme Court has emphasized that any pressure that union-represented
         employees may feel to join the union that represents their bargaining units is “no
                                                     11
                   UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 18 of 27 Page ID
                                   #:543



 1   the deduction of dues pursuant to Plaintiff’s own authorization did not violate his
 2   First Amendment rights.
 3         Further, by voluntarily agreeing to pay dues through payroll deductions in
 4   exchange for access to the rights and benefits of union membership, see Mar Decl.
 5   ¶¶3, 5, Plaintiff entered into an enforceable contract with UTLA. See N.L.R.B. v.
 6   U.S. Postal Serv., 827 F.2d 548, 554 (9th Cir. 1987) (“dues-checkoff authorization is
 7   a contract,” and “[a] party’s duty to perform even a wholly executory contract is not
 8   excused merely because he decides that he no longer wants the consideration for
 9   which he has bargained….”); Belgau v. Inslee, 2018 WL 4931602, at *5 (W.D.
10   Wash. Oct. 11, 2018) (“Belgau I”) (“Here, unlike in Janus, the Plaintiffs entered into
11   a contract with the Union to be Union members and agreed in that contract to pay
12   Union dues ….”); Smith I, 2018 WL 6072806, at *1 (plaintiff who signed
13   membership agreement “formed a contract with [the union]”); Fisk v. Inslee, 2017
14   WL 4619223, at *4 (W.D. Wash. Oct. 16, 2017) (signed card with dues authorization
15   agreement was “a valid contract”), aff’d, 759 F.App’x 632 (9th Cir. 2019); Cooley I,
16   2019 WL 331170, at *3; Crockett, 367 F.Supp.3d at 1008; Bermudez, 2019 WL
17   1615414, at *2; see also Cohen v. Cowles Media Co., 501 U.S. 663, 672 (1991)
18   (First Amendment did not preclude enforcement of newspaper’s promise not to
19   reveal source).
20         As this Court has already acknowledged, Janus did not change the law
21   governing the formation and enforcement of such voluntary contracts between
22   unions and their members. See Seager, 2019 WL 3822001, at *2. The question in
23   Janus was whether it was consistent with the First Amendment for the State to
24   compel nonmembers of a union – i.e., individuals who had not affirmatively chosen
25
      different from the pressure to join a majority party that persons in the minority
26
      always feel” and “does not create an unconstitutional inhibition on associational
27    freedom.” Minn. State Bd. for Cmty. Colleges v. Knight, 465 U.S. 271, 290 (1984);
28    see also Bain, 891 F.3d at 1219-20; Clark v. City of Seattle, 2017 WL 3641908, at
      *3 (W.D. Wash. Aug. 24, 2017).
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              UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 19 of 27 Page ID
                                   #:544



 1   to join a union and had not affirmatively chosen to enter into a contract to secure
 2   member rights and benefits in exchange for paying dues – to pay fees to a union as a
 3   condition of government employment. 138 S.Ct. at 2459-60.
 4         Plaintiff’s voluntary decision to choose union membership and expressly
 5   commit to paying dues in exchange for membership rights and benefits was
 6   completely different from the compelled nonmember payments at issue in Janus.
 7   Every court to have considered the issue (including this Court) has agreed that
 8   “Janus says nothing about people [who] join a Union, agree to pay dues, and then
 9   later change their mind about paying union dues.” Belgau I, 2018 WL 4931602, at
10   *5; see Seager, 2019 WL 3822001, at *2; Smith II, 2019 WL 2476679, at *2 (“Janus
11   did not concern the relationship of unions and members; it concerned the relationship
12   of unions and non-members.”); O’Callaghan, 2019 WL 2635585, at *3 (“[N]othing
13   in Janus’s holding requires unions to cease deductions for individuals who have
14   affirmatively chosen to become union members and accept the terms of a contract
15   ….”); Smith I, 2018 WL 6072806, at *1 (Janus “does not give Smith license to evade
16   his contract”); Cooley I, 2019 WL 331170, at *3 (“Mr. Cooley’s alleged harm stems
17   from his previous consent to pay union membership dues, not from a compulsory
18   nonmember agency fee. Thus, on its face, Janus does not provide the relief Mr.
19   Cooley seeks.”).
20                2.     Plaintiff’s pre-Janus consent to membership dues deductions
                         was “freely given.”
21
22         Plaintiff has conceded that he signed UTLA membership cards and dues
23   deduction authorizations in 2016 and February 2018. FAC ¶¶16-17. His claim for
24   damages based on deductions prior to June 2018, when he submitted his resignation
25   letter, therefore rests wholly on his contention that the consent he provided in those
26   membership agreements “was not ‘freely given’ because it was given based on an
27   unconstitutional choice between union membership or the payment of union agency
28

                                                13
              UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 20 of 27 Page ID
                                   #:545



 1   fees without the benefit of membership.” Id. ¶42.7 Plaintiff asserts that, had
 2   nonmembers not been required to pay fair-share fees, he would have made a
 3   different choice. Id. ¶43.
 4            As this Court has already held, the fact that Plaintiff voluntarily signed his
 5   dues deduction authorization when Abood rather than Janus was the law does not
 6   make that contract unenforceable, and does not make Plaintiff’s consent anything
 7   other than “freely given.” Seager, 2019 WL 3822001, at *2; Babb, 378 F.Supp.3d at
 8   877 (citing Crockett, 367 F.Supp.3d at 1007-09). Before Janus, those who elected
 9   not to join the union paid compulsory fair-share fees that were less than the dues
10   Plaintiff agreed to pay as a union member. JSUF ¶14. After Janus, employees who
11   have never agreed to pay union dues are no longer required to pay those fees. Id.
12   ¶14; Mar Decl. ¶4. But it is well-established that parties cannot renege on their
13   contractual commitments based on such changes in the law. For instance, in Coltec
14   Industries, Inc. v. Hobgood, 280 F.3d 262 (3d Cir. 2002), a coal company attempted
15   to rescind an agreement in which it had agreed to dismiss certain causes of action
16   against a benefit fund in exchange for the right to seek a reduction of the amount of
17   payments it owed to that fund. Id. at 267-69. The company claimed it entered into
18   the agreement because of a statutory provision affecting possible alternatives that the
19   Supreme Court later held unconstitutional. See id. The Third Circuit held the
20   company to its bargain, notwithstanding the subsequent invalidation of the statute.
21   See id. at 273-77.
22            Even in cases involving plea agreements – contracts that waive a person’s
23   fundamental right to personal liberty and constitutional rights to a jury trial and not
24   to testify against herself, Puckett v. United States, 556 U.S. 129, 137 (2009) – courts
25
     7
         Plaintiff’s claim is also barred in part by the statute of limitations. The statute of
26
         limitations for claims filed in California under 42 U.S.C. §1983 is two years.
27       Colony Cove Properties, LLC v. City of Carson, 640 F.3d 948, 956 (9th Cir. 2011).
28       Plaintiff’s initial complaint was filed November 9, 2018, more than two years after
         he signed his first dues deduction authorization on September 8, 2016, JSUF Ex. A.
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                UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 21 of 27 Page ID
                                   #:546



 1   have consistently held that a defendant who may have accepted a plea agreement in
 2   part to protect against an alternative later deemed unconstitutional cannot avoid
 3   enforcement of that agreement. In Brady v. United States, 397 U.S. 742 (1970), for
 4   example, the Supreme Court held that a defendant could not rescind his plea
 5   agreement even though he claimed he entered the plea under the pressure induced by
 6   a death penalty statute later found by the Court to have been unconstitutional. The
 7   Court explained that by pleading guilty, the defendant was waiving his constitutional
 8   right to a jury trial, and “[w]aivers of constitutional rights not only must be voluntary
 9   but must be knowing, intelligent acts done with sufficient awareness of the relevant
10   circumstances and likely consequences. On neither score was [the defendant’s] plea
11   of guilty invalid.” Id. at 748. Thus, even though the defendant pled guilty when he
12   was facing the death penalty under a statute that was later held unconstitutional, the
13   Supreme Court held that he had “voluntar[ily]” and “knowing[ly]” waived his
14   constitutional rights at the time of his plea. Id. The Court then squarely held that “a
15   voluntary plea of guilty intelligently made in the light of the then applicable law
16   does not become vulnerable because later judicial decisions indicate that the plea
17   rested on a faulty premise.” Id. at 757 (emphasis added).
18         The Fourth Circuit drove this point home in Dingle v. Stevenson, 840 F.3d 171
19   (4th Cir. 2016). There, the defendant pleaded guilty to avoid the death penalty for a
20   crime he had committed as a juvenile, and later sought to rescind that plea after the
21   Supreme Court categorically invalidated the juvenile death penalty in Roper v.
22   Simmons, 543 U.S. 551 (2005). The Fourth Circuit refused to rescind the guilty plea,
23   reasoning that the defendant’s plea had to be evaluated “under the law as it existed at
24   the time.” Dingle, 840 F.3d at 175. The Court explained:
25         Contracts in general are a bet on the future. Plea bargains are no
           different: a classic guilty plea permits a defendant to gain a present
26
           benefit in return for the risk that he may have to forego future favorable
27         legal developments. Dingle received that present benefit – avoiding the
           death penalty and life without parole – under the law as it existed at the
28
           time. Although Roper, in hindsight, altered the calculus underlying
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              UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 22 of 27 Page ID
                                   #:547



 1         Dingle’s decision to accept a plea agreement, it does not undermine the
           voluntariness of his plea. Some element of pressure exists in every deal,
 2
           as the tradeoff between present certainty and future uncertainty is
 3         emblematic of the process of plea bargaining. Brady makes all that
           exceptionally clear and in following its teachings we find no infirmity in
 4
           the plea that Dingle entered.
 5
     Id. at 175-76 (emphasis added).
 6
           These authorities foreclose Plaintiff’s contention that he could not have
 7
     “freely” chosen to authorize membership dues deductions because his alternative at
 8
     the time was to pay fair-share fees. See Smith II, 2019 WL 2476679, at *2 (“changes
 9
     in intervening law – even constitutional law – do not invalidate a contract”) (citing
10
     Brady and Dingle); Anderson v. Serv. Emps. Int’l Union Local 503, _F.Supp.3d_,
11
     2019 WL 4246688, at *3 (D. Or. Sept. 4, 2019) (same); Cooley II, 385 F.Supp.3d at
12
     1080 (“[A]n intervening change in law does not taint that consent or invalidate his
13
     contractual agreement.”).
14
           B.      Plaintiff’s Challenge to the Terms of His Dues Authorization Also
15                 Fails for Lack of State Action.
16
           There is another fundamental problem with Plaintiff’s First Amendment
17
     challenge to his own dues authorization: enforcement of the voluntary, private
18
     agreement between Plaintiff and UTLA does not constitute “state action” subject to
19
     First Amendment scrutiny. To state a claim under 42 U.S.C. §1983, “‘the conduct
20
     allegedly causing the deprivation of a federal right [must] be fairly attributable to the
21
     State.’” Ohno v. Yasuma, 723 F.3d 984, 993 (9th Cir. 2013) (quoting Lugar v.
22
     Edmonson Oil Co., 457 U.S. 922, 936-37 (1982)). If the conduct Plaintiff challenges
23
     “is not so attributable, then there is no ‘state action’ and no violation” of the First
24
     Amendment. Ohno, 723 F.3d at 993.
25
           Plaintiff alleges that “UTLA [was] acting in concert” with the Superintendent
26
     because the Superintendent collected dues from his paycheck and purportedly
27
     enforced the revocation window in Plaintiff’s dues authorization agreement. FAC
28

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                UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 23 of 27 Page ID
                                   #:548



 1   ¶38; see id. ¶39 (“UTLA and Superintendent Beutner have limited withdrawal from
 2   the union to an arbitrary 30-day period per year ….”). In other words, the state
 3   conduct at issue here involves, at most, the Superintendent’s compliance with the
 4   terms of the contractual dues deduction agreement Plaintiff voluntarily entered into
 5   with UTLA. Neither the terms of that private agreement nor the District’s
 6   ministerial compliance with that agreement constitute state action subject to a First
 7   Amendment §1983 challenge. See Belgau II, 359 F.Supp.3d at 1012-15; Cooley II,
 8   385 F.Supp.3d at 1081-82; Bain v. Cal. Teachers Ass’n, 156 F.Supp.3d 1142, 1151-
 9   54 (C.D. Cal. 2015) (“Bain I”), subsequent order, 2016 WL 6804921 (C.D. Cal. May
10   2, 2016) (“Bain II”), appeal dismissed as moot, 891 F.3d 1206 (9th Cir. 2018).
11   Plaintiff was not required to join UTLA as a condition of his employment, Mar Decl.
12   ¶2; he chose to do so. Likewise, California law does not specify the terms of
13   voluntary dues authorization agreements between unions and their members; it
14   simply requires employers like LAUSD to comply with their terms. See Cal. Gov’t
15   Code §3543.5(d) (forbidding employer to “[d]ominate or interfere with the formation
16   or administration of any employee organization”); Cal. Educ. Code §45060(a)
17   (employer “shall reduce the [salary payment] order by the amount which it has been
18   requested in a revocable written authorization by the employee”); id. (revocation
19   “shall be in writing and shall be effective provided the revocation complies with the
20   terms of the written authorization”); id. §45060(e); id. §45168(a)(1), (2), (3), (6).
21   Where a government actor has no role in setting the terms of the dues authorization
22   agreements between a public sector union and its members, but merely honors those
23   agreements according to their terms, the state action that is a prerequisite for a First
24   Amendment claim is absent. Belgau II, 359 F.Supp.3d at 1012-15; see also Blum v.
25   Yaretsky, 457 U.S. 991, 1005 (1982) (that a government actor may respond to a
26   private party’s actions “by adjusting [its own conduct] does not render it responsible
27   for those actions”); Roberts v. AT&T Mobility LLC, 877 F.3d 833, 844 (9th Cir.
28   2017) (court enforcement of private agreement to arbitrate claims is not state action

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              UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 24 of 27 Page ID
                                   #:549



 1   that permits a §1983 suit against party to agreement; “Because no federal law
 2   required Plaintiffs to waive their right to litigate, there is no state action simply
 3   because the state enforces that private agreement.”) (internal quotation marks and
 4   brackets omitted).
 5         C.      Plaintiff’s Damages Claim for Post-June 4, 2018 Deductions Does
                   Not Present a Justiciable Controversy.
 6
 7         Plaintiff’s claim for a refund of dues deducted after his resignation from
 8   membership fails for the additional reason that those dues already were refunded
 9   with interest, so the claim is moot.
10         On February 13, 2018, Plaintiff voluntarily entered a binding contract with
11   UTLA to pay dues for a one-year period “irrespective of [his] membership.” JSUF
12   Ex. B (emphasis added); see supra Part II.A. He then resigned his membership in
13   June 2018, and sought to cease dues deductions prior to the start of the window
14   period specified in his dues deduction authorization. JSUF Exs. C, H. The dues
15   deductions that occurred after Plaintiff’s resignation (and before they were fully
16   refunded) were permitted by the unambiguous, express terms of his dues
17   authorization agreement.
18         As explained above, see supra Part II.A, this Court and numerous others have
19   uniformly held that Janus does not permit public employees to renege on such
20   express, voluntary contractual commitments to pay money to a union, including
21   commitments to pay dues through payroll deduction for a defined period of time,
22   regardless whether the employee resigns from union membership. See Seager, 2019
23   WL 3822001, at *2; O’Callaghan, 2019 WL 2635585, at *3 (“[N]othing in Janus’s
24   holding requires unions to cease deductions for individuals who have affirmatively
25   chosen to become union members and accept the terms of a contract that may limit
26   their ability to revoke authorized dues-deductions in exchange for union membership
27   rights, such as voting, merely because they later decide to resign membership.”);
28   Anderson, 2019 WL 4246688, at *2 (citing, inter alia, Fisk v. Inslee, 759 F.App’x

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                UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 25 of 27 Page ID
                                   #:550



 1   632, 633 (9th Cir. 2019)); Smith II, 2019 WL 2476679, at *2; Smith I, 2018 WL
 2   6072806, at *1. Thus, Plaintiff’s First Amendment claim for damages based on post-
 3   June 4, 2018 deductions fails as a matter of law.
 4         But this Court also lacks jurisdiction over that claim, because Plaintiff has
 5   already received a full refund (plus interest) of all deductions made after he
 6   submitted his resignation letter. JSUF ¶¶9-10, 12 & Ex. H.
 7         Retrospective damages under §1983 are limited to those necessary “to
 8   compensate injuries caused by the constitutional deprivation” alleged. Memphis
 9   Cmty. Sch. Dist. v. Stachura, 477 U.S. 299, 309 (1986) (emphasis and brackets
10   omitted) (quoting Carey v. Piphus, 435 U.S. 247, 265 (1978)). Count I seeks
11   “damages in the amount of all dues deducted and remitted to UTLA ….” FAC ¶¶50-
12   52; id. Prayer for Relief ¶¶f-h. The undisputed facts establish that Plaintiff has
13   already received an unconditional refund of the full amount in damages that he seeks
14   for the post-resignation period. See JSUF ¶¶9-10; FAC ¶51 (seeking “damages in
15   the amount of all dues deducted and remitted to UTLA since he sent a letter to the
16   union asking to resign”). As a result, Plaintiff “ha[s] no present need for remedial
17   relief from the federal courts” with respect to those dues, and his claim for relief with
18   respect to those dues is moot. S-1 v. Spangler, 832 F.2d 294, 297 (4th Cir. 1987)
19   (dismissing §1983 action as moot where plaintiffs had obtained tuition
20   reimbursement that was “ultimate object of their action”). The issues presented by
21   Plaintiff’s claim for post-June 4, 2018 relief “are no longer ‘live’” and Plaintiff
22   “lack[s] a legally cognizable interest in the outcome” of his suit with respect to this
23   claim. City of Erie v. Pap’s A.M., 529 U.S. 277, 287 (2000) (quotation omitted).
24         In indistinguishable circumstances, courts have held that claims challenging
25   the deduction of union dues following a plaintiff’s resignation from membership
26   were moot where the union had fully and unconditionally refunded those dues. See
27   Weyandt v. Pa. State Corrs. Officers Ass’ns, 2019 WL 5191103, at *3-5 (M.D. Pa.
28   Oct. 15, 2019) (named plaintiffs’ claim was moot where they were allowed to resign

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              UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 26 of 27 Page ID
                                   #:551



 1   and post-resignation dues were refunded because dispute was “unaccompanied by
 2   any continuing, present adverse effects”) (citations omitted); Mayer, 2019 WL
 3   4674397, at *3 (dismissing claims challenging post-resignation dues payments
 4   because “Plaintiff has received a refund for the dues that were paid after he resigned
 5   from the Union, and his actual injury therefore has been redressed”); Molina v. Pa.
 6   Soc. Serv. Union, 392 F.Supp.3d 469, 482 (M.D. Pa. 2019) (“Plaintiff’s claim has
 7   been rendered moot by the refund provided by Defendants.”). The same result is
 8   required here. See also Lamberty v. Conn. State Police Union, 2018 WL 5115559, at
 9   *6-8 (D. Conn. Oct. 19, 2018) (claims seeking damages based on prior deductions of
10   fair-share fees were moot because defendant union refunded all fair-share fees that
11   had been deducted, plus interest, after Supreme Court issued Janus); Sands v. NLRB,
12   825 F.3d 778, 783-85 (D.C. Cir. 2016) (unfair practice claim against union for
13   purportedly failing to inform member that she had option of paying agency fees
14   rendered moot by union’s tendering of refund of dues paid); cf. Babb, 378 F.Supp.3d
15   at 886 (claim challenging delay in processing of public employee’s request to resign
16   union membership was moot because employee was no longer a union member and
17   “suffered no damages because of the … delay”).
18                                     CONCLUSION
19         For the foregoing reasons, summary judgment should be granted in favor of
20   UTLA on Plaintiff’s remaining claim.
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              UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
Case 2:18-cv-09531-JLS-DFM Document 72-1 Filed 10/18/19 Page 27 of 27 Page ID
                                   #:552



 1   Dated: October 18, 2019        Respectfully submitted,
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             UTLA’S MPA ISO MOTION FOR SUMMARY JUDGMENT, No. 2:18-cv-09531-JLS-DFM
